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AO 91 (Rcv. ll/l 1) Cn`minal Complainl

UNITED STATES DISTRICT CoURT

for the
Northem District of New York

 

UNITED STATES OF AMERICA )
v. )
MARTIN NICHOLSON ) Case No. 5:18-MJ-‘§'Ol_Z C Pt 1 553
)
)
)
)
Defendant. )
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief. On
or about the date(s) of 2012 to 2015 and October 8, 2018 in the county of Onondaga in the Northem District of

New York the defendant violated:

Code Sectz`on Ujj”ense Description
18 U.S.C. §2251(a) and (e) and 18 Sexual Exploitation of a Child and attempt to do so and Receipt of
U.S.C. § 2252A(a)(2)(A) Child Pomography

This criminal complaint is based on these facts:
See attached affidavit

IZ Continued on the attached sheet.

; 5 Complainant 's signature

Heather Weber, Special Agent

 

P)‘intea' name and title
Swom to before me and signed in my presence.

Dacc; 10/10/18 M[(!Z_ £

` Judgel's signature

City and State: Syracuse, NY Hon. Andrew T. Baxter, U.S. Magistrate .ludgc

 

Printed name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Heather L. Weber, being duly swom, depose and state:

I. INTRODUCTION

l. l am a Special Agent with the Federal Bureau of Investigation (“FBI”). I have been
so employed by the FBI since September 2014. I am currently assigned to the Albany Division,
Albany, New York. I have participated in investigations of persons suspected of violating federal
child pornography laws, including Title 18, United States Code, Sections 2251, 2252 and 2252A.
l have received training in the area of child sexual exploitation and have had the opportunity to
observe and review numerous examples of child pornography in all forms of media including
computer media.

2. This affidavit is made in support of an Application for a criminal complaint and
arrest warrant charging Martin Nicholson with violating Title 18, United States Code, Sections
2251(a), Sexual Exploitation of a Child, and 2252A Receipt of Child Pomography.

3. The statements in this affidavit are based on information provided by New York
State Police lnvestigators and on my own investigation of this matter.

4. Because this affidavit is being submitted for the limited purpose of securing a
criminal complaint and arrest warrant, I have not included each and every fact known to me
concerning this investigation I have set forth only those facts that I believe are necessary to
establish probable cause to believe that Nicholson has committed the crimes of Sexual Exploitation
of a Child, or attempt to commit that offense, in violation of Title 18, United States Code, Section
2251(a) and (e) and Receipt of Child Pomography, in violation of Title 18, United States Code,

section 2252A(a)(2)(A).

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Il. THE INVESTIGATION
5. On April 2, 2018, the National Center for Missing and Exploited Children
(NCME_C) processed a report from 'l`witter1 in which Twitter reported that a user had transmitted
an image through its service which appeared to be child pornographic in nature. This image, titled
“k0leAuq.jpg,” depicts the lewd and lascivious display of the vagina of a prepubescent child,
who is also depicted inserting two fingers into of her anus. This image is available to the court
upon its request.
6. Twitter provided the following information pertaining to the user who transmitted
the image:
Profile url https://twitter.com/loverofal15672
Email Address: mtnicholson[XXXX]@gmail.com

Screen/User Name: loverofall[XXXX]
IP Address: 71.1 15.217.232 (Registration) 02-05-2018 03:48:26 UTC

IP Address: 71.115.216.34(Login) 03-13-2018 05:20:38 UTC
IP Address: 71.115.216.34(Login) 03-13-2018 00:18:30 UTC
7. Information received in response to a subpoena issued to Google for gmail account

mtnicholson|XXXX|@Bail.com revealed that Martin Nicholson is the name listed on the
account, and the recovery email associated with the account is [XX]nicholson(c`vtwcnv.rr.com.

8. 'l`he IP address which was used to log into the suspect Twitter account prior to and
after the image of child pornography was uploaded to Twitter (71.115.217.232) is owned by
Verizon. As a result of a subpoena issued to Verizon, Verizon advised that the IP address was

assigned to the following Verizon customer on the date and time of the Twitter activity:

Verizon Customer Id: 255453507
Verizon Account Id: 0001

 

’ Twitter is an American online news and social networking service on which users post

and interact with messages known as “twects”.

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Customer Name: Martin Nicholson

Account Address: [Street address redacted]
Syracuse, NY [zip code redacted]

Daytime Telephone [Redacted]

Email Address: [XXlnicholson@twcnv.rr.com

9. New York State Police Senior Investigator Todd Grant obtained a search warrant
for Nicholson’s Syracuse, NY residence address, and on October 9, 2018, Federal Agents and
Investigators with the New York State Police executed that warrant and found Martin Nicholson
as the sole occupant of the residence.

10. Nicholson agreed to speak with Investigator Grant and your affiant at the North
Syracuse State Police Barracks and waived his Miranda Rights. During this interview, Nicholson
was shown the image identified in the NCMEC report. Nicholson did not recognize the specific
image but stated it was consistent with images he has traded using Twitter, Kik2 and Wickr‘.
Nicholson stated he had traded child pornography using Kik as recently as the night before.

ll. Department of Defense Special Agent Diego Collacchi retrieved Kik messages and
images from Nicholson’s cell phone that was seized pursuant to the search warrant. A review of
the Kik activity between Nicholson and another Kik user on October 8, 2018 show that multiple
images and videos were traded between the two, some of which depict child pomography. In

particular, the Kik activity shows Nicholson receiving a video entitled “6cb53dc9-f49a-446e-bfb6-

6685aea8bl4c.mp4.” This video is approximately l minute 50 seconds in length and depicts two

 

2 Kik is a freeware instant messaging mobile application from the Canadian company Kik

Interactive

3 Wickr is an American software company based in San Francisco The company is best
known for its instant messenger application of the same name. The Wickr instant messaging apps
allow users to exchange end-to-end encrypted and content-expiring messages, including photos,

videos, and file attachments and place end-to-end encrypted video conference calls.

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females under the age of 12, one of whom is anally penetrating the other with a sex toy.

12. Martin Nicholson admitted that he was previously a track and cross country coach
at several local schools.

13. Among other things, Nicholson admitted that he coerced a minor female child (Vl)
to take pictures of her younger sister (V2), and specifically asked that Vl take and send to him
images depicting V2’s vagina.

14. During the execution of the search warrant a flash drive was recovered and
previewed. A folder bearing V2’s name was located, and in it were several images of V2.
Nicholson was shown these images, and admitted that these were the images he directed Vl to
produce, surreptitiously, of V2. The images depict V2 in various states of undress, and includes
at least two lewd and lascivious images depicting V2’s vagina as the focal point of the image,
These images are available for the Court’s inspection upon request.

15. Vl was identified, located and interviewed. She admitted taking naked and explicit
pictures of V2 in a surreptitious manner at Nicholson’s instruction and direction, and said she did
so between 2012 and 2015.

16. V2 was located and interviewed by New York State Police Investigators. V2
identified herself in the recovered images. She said she did not know these pictures had been
taken. In viewing the images, V2, now 16 years old, said that based on some of the items depicted,
she believes she was 12 or 13 at the time.

III. CONCLUSION

17. Based upon the above, your affiant respectfully submits that there is probable cause

to believe that Martin Nicholson (l) in or about 2012 - 2015 employed, used, persuaded, induced,

enticed, and coerced a minor or minors to engage in sexually explicit conduct for the purpose of

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producing any visual depiction of such conduct, or attempted to do so, knowing and having reason
to know that such visual depiction would be transported or transmitted using any means or facility
of interstate or foreign commerce or in or affecting such commerce, and where such visual
depiction has actually been transported or transmitted using any means or facility of interstate or
foreign commerce or in or affecting interstate or foreign commerce, in violation of 18 U.S.C. §
2251(a) and (e), and (2) on or about October 8, 2018 received child pornography using a means
and facility of interstate and foreign commerce, shipped and transported in and affecting interstate

and foreign commerce by any means, including by computer, in violation of 18 U.S.C.

§ 2252A(a)(2)(A).

Zgather Weber

Special Agent

Federal Bureau of Investigation
Swom to me

This [Q l day of October 2017

    

Hon. Andrew T. Baxter
United States Magistrate Judge

